                                    FB CONVERSATIONS
U.S.v. Elshinawy                  WITH AHMED ELSHINAWY
CriminalCase    1:16-cr-00009-ELH Document
          No. ELH-16-0009                     138-5
                                     Defense Exhibit 5 Filed                       11/14/17 Page 1 of 1    1




                                          Facebook Business Record                             Page 5203
                   Deleted
                             false
                   Body      But it is neither the same picture you had in mind.

              Recipients     Mohamed Elshinawy (100001303475553)
                             Abo Alkhair (100007347586608)
                 Author      Abo Alkhair (100007347586608)
                    Sent     2015-05-29 12:50:24 UTC
                      IP     79.170.55.127
                 Deleted     false
                   Body      nor what they tried to convey to you.

              Recipients     Abo Alkhair (100007347586608)
                             Mohamed Elshinawy (100001303475553)
                 Author      Mohamed Elshinawy (100001303475553)
                    Sent     2015-05-29 12:50:38 UTC
                      IP     77.234.41.135
                 Deleted     false
                   Body      Okay, man. There is no might or power but by Allah.

              Recipients     Abo Alkhair (100007347586608)
                             Mohamed Elshinawy (100001303475553)
                 Author      Mohamed Elshinawy (100001303475553)
                    Sent     2015-05-29 12:50:52 UTC
                      IP     77.234.41.135
                 Deleted     false
                   Body      So, they are kind of bad, no nice but not too much.

              Recipients     Abo Alkhair (100007347586608)
                             Mohamed Elshinawy (100001303475553)
                 Author      Mohamed Elshinawy (100001303475553)
                    Sent     2015-05-29 12:50:53 UTC
                      IP     77.234.41.135
                 Deleted     false
                   Body      Hahaha.

              Recipients     Abo Alkhair (100007347586608)
                             Mohamed Elshinawy (100001303475553)
                 Author      Mohamed Elshinawy (100001303475553)
                    Sent     2015-05-29 12:50:59 UTC
                      IP     77.234.41.135
                 Deleted     false
                   Body      They are nice but not too much

              Recipients     Mohamed Elshinawy (100001303475553)
                             Abo Alkhair (100007347586608)
                 Author      Abo Alkhair (100007347586608)
                    Sent     2015-05-29 12:51:03 UTC
                      IP     79.170.55.127
                 Deleted     false
                   Body      I don’t evaluate them.

              Recipients     Mohamed Elshinawy (100001303475553)
                             Abo Alkhair (100007347586608)
                 Author      Abo Alkhair (100007347586608)
                    Sent     2015-05-29 12:51:17 UTC
                      IP     79.170.55.127
                 Deleted     false




                                                                                              AHMED_207
